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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SCOTT DOLEMBA,                                      )
on behalf of plaintiff and the classes defined      )
below,                                              )
                                                    )
                       Plaintiff,                   )      16 CV 10280
                                                    )
               vs.                                  )      Judge Bucklo
                                                    )      Magistrate Judge Rowland
RETAIL CAPITAL LLC, d/b/a CREDIBLY;                 )
WEBBANK;                                            )
and DOES 1-10,                                      )
                                                    )
                       Defendants.                  )

                                    NOTICE OF SETTLEMENT

       Plaintiff Scott Dolemba, and Defendants Retail Capital, LLC, d/b/a Credibly

(“Credibly”), and WebBank (collectively, “Defendants”), have resolved this matter on an

individual basis. The parties are completing settlement documents and anticipate filing a

stipulation of dismissal within the next 45 days.



                                                    Respectfully submitted,

                                                    s/ Dulijaza Clark
                                                    Dulijaza (Julie) Clark



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                                     CERTIFICATE OF SERVICE

       The undersigned certifies that on January 23, 2017, she caused the foregoing document to

be electronically filed with the Clerk of the United States District for the Northern District of

Illinois by filing through the CM/ECF system, which shall cause service via electronic mail upon

all counsel of record.




                                                      s/ Dulijaza Clark
                                                      Dulijaza (Julie) Clark



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